United States Digfcf Gait 00879-DDL_=— Document 1 Filed 02/28 /¢eydnAGF HRobas Fede OF 1

Violation Notice seis tigen [For Iasuanoa of an arrest warrant of sumwnone)

en eee ere | po | etabe thal on oo while exercking my duties a6 8

coz | E 1557876] wrins Auebyutcro see ae

YOU ARE CHARGED WITH THE FOL ne VIOLATION

Cie ered Tine of Clery ietddiyyyy) | Oe Charest O CFR oo Se poo ae sine
12 28 2022 | c9¢ -1Ho — ASSAULT
Pace of Ce AA

AAG ShWPLPE, ANE , Cte CA

Cero Feet! Heme foe [harce HATBIAT ©

CPC) SicTION Z2UO — ASSAULT
22- O395°"

DEFENDANT INFORMATION

La ha

GEN Tey

AGH LEY

o APPEARAHCE 6 REQUIRED APPAR ANCE 6S OP TIORAL o The at is nae
Woe Ais checked, pourwes! [6 CL) iow B is chmoked, you must pay the ' tien
om R Sppea inicour, Som lola! collar! dua cer i leu of gary eral oD fy personal observabon i my personal investiga
a inaruchiceos Bra hn Coe. Sap ietrecticerel 5 information siepplhed to me from: ery flow officer's obdervalion
& TLS Pa > other [explain above}
#530 Pr F
= PAY THE AMOUNT AT eee = decir uke penalty of perjury thot tee ihocmyben whieh | hee sat forih aoe and on Te
= wee CV UECOUrE.gav | § Tote! Coliaters’ Gus ieee of his vanieion notos is (rue and comect 1a thes bana) col ry berecewtarchpan
ta
_ YOUR COURT DATE _ i
Bo DI no os appearance dale i ehorwn pons wil tes nowt a pou dike by cml] pp eaecuied on (27 1917 B Ah tal
SS Courl Adres b Loa Come = Bate (mmtded yyy Sagnavturn
8 LLA WEST BLOND Why m3
cn San LEGo. CA, Odio L ie => Probable cause has bean stated for the suance af a warrant
—
Be bby sagraere sayewles Tal | Mare etree & dopy of oi verator noon Em ned en admmson of quill fee fexi on
pectin bo epee Bor fan hee oad he fie: aed place ore or ori bea J? Rape aS ply Tree berbal Diate: (rrrmicicl \ U.S. Magistrate Judge

ae Ca

RAEMAT © Hautaeierd Tuer rete nck PUARS © 9 oe een pee! eee

ne COL = Gera deere oe OM = Correa sehen peeohael he biee

cea CS 7SO *E155/8/6* ce |
